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 Attorneys for Respondent

                        IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

 ELDON GALE SAMUEL, III,                     )
                                             )     CASE NO. 2:20-cv-00545-REP
              Petitioner,                    )
                                             )
vs.                                          )      NOTICE OF LODGING
                                             )
TEREMA CARLIN, Warden of the Idaho           )
Correctional Institution – Orofino,          )
                                             )
            Respondent.                      )
 __________________________________

        COMES NOW, Respondent, Terema Carlin, Warden of the Idaho Correctional Institution

 - Orofino, by and through his attorney, Mark W. Olson, Deputy Attorney General, Capital

 Litigation Unit, and hereby lodges state court records pursuant to Rule 5 of the Rules Governing

 28 U.S.C. § 2254 Cases. All state court documents remain available for inspection upon the




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request of the Court. Respondent reserves the right to augment the record if the need arises

during the course of these proceedings.

          The following records and documents are hereby submitted to the Court:

A.        State District Court Records (Trial), State of Idaho v. Eldon Gale Samuel, III,
          Kootenai County District Court Case No. CR-2014-5178, Idaho Supreme Court
          Docket No. 44182

          1.       ICourt Portal Entry, State of Idaho v. Eldon Gale Samuel, III, Kootenai County

District Court Case No. CR-2014-5178, Accessed October 12, 2021 (155 pages).

          2.       Clerk’s Record on Appeal, State of Idaho v. Eldon Gale Samuel, III, Kootenai

County District Court Case No. CR-2014-5178, Idaho Supreme Court Docket No. 44182 (6,375

pages).

          3.       State’s Trial Exhibit 6A (video of interview); State of Idaho v. Eldon Gale

Samuel, III; admitted into evidence at trial at State’s lodging A-9, p.1014; Kootenai County

District Court Case No. CR-2014-5178.

          4.       State’s Trial Exhibit 6B (written Miranda warning); State of Idaho v. Eldon Gale

Samuel, III; admitted into evidence at trial at State’s lodging A-9, p.1014; Kootenai County

District Court Case No. CR-2014-5178 (1 page).

          5.       State’s Trial Exhibit 6C (transcript of interview); State of Idaho v. Eldon Gale

Samuel, III; admitted into evidence at trial at State’s lodging A-9, p.1014; Kootenai County

District Court Case No. CR-2014-5178, Idaho Supreme Court Docket No. 44182 (193 pages).

          6.       Reporter’s transcript of pretrial hearing on motion to suppress and motion in

limine, Vol. I, State of Idaho v. Eldon Gale Samuel, III, Kootenai County District Court Case

No. CR-2014-5178, Idaho Supreme Court Docket No. 44182; January 20, 2015 (pages 1-257).




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       7.       Reporter’s transcript of pretrial hearing on motion to suppress and motion in

limine, Vol. II, State of Idaho v. Eldon Gale Samuel, III, Kootenai County District Court Case

No. CR-2014-5178, Idaho Supreme Court Docket No. 44182; January 21, 2015 (pages 258-475).

       8.       Reporter’s transcript of various pre-trial hearings, jury trial, and sentencing

hearing, Vol. I (motion hearings and days 1 and 2 of jury trial), State of Idaho v. Eldon Gale

Samuel, III, Kootenai County District Court Case No. CR-2014-5178, Idaho Supreme Court

Docket No. 44182; April 15, 2015; July 15, 2015; July 29, 2015; August 25, 2015; September

30, 2015; October 5, 2015; November 16, 2015; January 11-12, 2016 (pages 1-600) (index

excluded).

       9.       Reporter’s transcript of various pre-trial hearings, jury trial, and sentencing

hearing, Vol. II (days 3, 4, and 5 of jury trial), State of Idaho v. Eldon Gale Samuel, III, Kootenai

County District Court Case No. CR-2014-5178, Idaho Supreme Court Docket No. 44182;

January 13-15, 2016 (pages 601-1096) (index excluded).

       10.      Reporter’s transcript of various pre-trial hearings, jury trial, and sentencing

hearing, Vol. III (days 6, 7 and 8 of jury trial), State of Idaho v. Eldon Gale Samuel, III,

Kootenai County District Court Case No. CR-2014-5178, Idaho Supreme Court Docket No.

44182; January 19-21, 2016 (pages 1097-1642) (index excluded).

       11.      Reporter’s transcript of various pre-trial hearings, jury trial, and sentencing

hearing, Vol. IV (days 9, 10, and 11 of jury trial), State of Idaho v. Eldon Gale Samuel, III,

Kootenai County District Court Case No. CR-2014-5178, Idaho Supreme Court Docket No.

44182; January 22, 25-26, 2016 (pages 1643-2224) (index excluded).

       12.      Reporter’s transcript of various pre-trial hearings, jury trial, and sentencing

hearing, Vol. V (days 12, 13, and 14 of jury trial and post-trial scheduling conference), State of




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Idaho v. Eldon Gale Samuel, III, Kootenai County District Court Case No. CR-2014-5178, Idaho

Supreme Court Docket No. 44182; January 27-29, February 18, April 4, 2016. (pages 2225-

2696) (index excluded).

       13.      Reporter’s transcript of various pre-trial hearings, jury trial, and sentencing

hearing, Vol. VI (sentencing hearing), State of Idaho v. Eldon Gale Samuel, III, Kootenai County

District Court Case No. CR-2014-5178, Idaho Supreme Court Docket No. 44182; April 4, 2016

(pages 2697-2914) (index excluded).

B.     State District Court Records (Direct Appeal), State of Idaho v. Eldon Gale Samuel,
       III, Idaho Supreme Court Docket No. 44182

       1.       Revised Appellant’s Brief, State of Idaho v. Eldon Gale Samuel, III, Idaho

Supreme Court Docket No. 44182; dated July 17, 2018 (95 pages).

       2.       Respondent’s Brief, State of Idaho v. Eldon Gale Samuel, III, Idaho Supreme

Court Docket No. 44182; dated December 12, 2018 (103 pages).

       3.       Reply Brief, State of Idaho v. Eldon Gale Samuel, III, Idaho Supreme Court

Docket No. 44182; dated March 5, 2019 (72 pages).

       4.       2019 Idaho Supreme Court Opinion, State of Idaho v. Eldon Gale Samuel, III,

Idaho Supreme Court Docket No. 44182; entered September 11, 2019 (45 pages).

       5.       Appellant’s Petition for Rehearing State of Idaho v. Eldon Gale Samuel, III, Idaho

Supreme Court Docket No. 44182; dated October 2, 2019 (2 pages).

       6.       Appellant’s Brief in Support of Petition for Rehearing, State of Idaho v. Eldon

Gale Samuel, III, Idaho Supreme Court Docket No. 44182; dated November 13, 2019 (36 pages).

       7.       Idaho Supreme Court Order Denying Petition for Review, State of Idaho v. Eldon

Gale Samuel, III, Idaho Supreme Court Docket No. 42923; entered December 5, 2019 (1 page).




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       8.       Remittitur, State of Idaho v. Eldon Gale Samuel, III, Idaho Supreme Court Docket

No. 42923; entered December 5, 2019 (1 page).

       DATED this 15th day of October, 2021.


                                             /s/ Mark W. Olson
                                             MARK W. OLSON
                                             Deputy Attorney General
                                             Capital Litigation Unit


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on or about the 15th day of October, 2021, I served a true and
correct copy of the foregoing document by the method indicated below, and addressed to the
following:

   Craig Durham                                           U.S. Mail
   Ferguson Durham, PLLC                                  Hand Delivery
   223 N. 6th Street, Suite 325                           Overnight Mail
   Boise, ID 83702                                        Facsimile
   Email: chd@fergusondurham.com

                                                    X     Electronic Court Filing



                                                    /s/ Mark W. Olson
                                                    MARK W. OLSON
                                                    Deputy Attorney General
                                                    Capital Litigation Unit




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